                                                                   RE: Follow Up
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         Subject: RE: Follow Up
         From: Brian Church <brian.church@ag.idaho.gov>
         Date: 5/10/2024, 2:32 PM
         To: "Casey Parsons (Mx.)" <casey@wrest.coop>
         CC: "ritchie@wrest.coop" <ritchie@wrest.coop>, "david@wrest.coop" <david@wrest.coop>, James Craig
         <James.Craig@ag.idaho.gov>, Josh Turner <josh.turner@ag.idaho.gov>

         Casey,

         As Jim expressed last night, the protestors can continue their protest, but they must
         comply with the time, place, and manner restrictions recognized in IDAPA 38.04.06
         and 38.04.08, Idaho Code sections 67-1613 and 67-1613A, and previously recognized
         by the Watters court.

         Brian

         --
                       Brian V. Church | Lead Deputy Attorney General
                       Civil Litigation and Constitutional Defense Division
                       Office of the Attorney General | State of Idaho
                       Phone: (208) 334-2400


         From: Casey Parsons (Mx.) <casey@wrest.coop>
         Sent: Friday, May 10, 2024 12:11 PM
         To: Brian Church <brian.church@ag.idaho.gov>
         Cc: ritchie@wrest.coop; david@wrest.coop
         Subject: Follow Up

         Brian,

         Following up on our correspondence with Marcus. If are able to reach a temporary agreement about
         there the protestors can continue their demonstration overnight, then there would be no reason to
         need to do a contempt hearing today and I would be satisfied with setting it for next Thursday.

         I have repeatedly proposed the monument in front of the Captiol Annex, which would permit
         maintenance of the lawn without blocking any ingress/egress to or from the building. Another
         possible option is they could set up in the parking lot if you are able to designate a space.

         If you have other ideas then please, of course, feel free to share. We need to resolve this today to, and
         I hope we share the goal of ensuring that the demonstrators are able to exercise their First
         Amendment rights while ensuring the State can do what it needs to in order to care for the ground.

         Let me know when you have time to discuss further.

         Thrive,

         Casey
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                                                                    RE: Follow Up
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         this email.




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